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                                    EXHIBIT 15
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      UNIVERSITY OF ILLINOIS ATHLETICS BRAND IDENTITY




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                                                                        ILL-VNTG_0000360

                                                                       Exhibit 15
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                                                                                   ILL-VNTG_0000361




                                                                       Exhibit 15
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                                                                                   ILL-VNTG_0000362




                                                                       Exhibit 15
Case: 1:21-cv-06546 Document #: 70-20 Filed: 11/08/22 Page 5 of 29 PageID #:1013




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                                                                                   ILL-VNTG_0000363




                                                                       Exhibit 15
Case: 1:21-cv-06546 Document #: 70-20 Filed: 11/08/22 Page 6 of 29 PageID #:1014




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                                                                                   ILL-VNTG_0000364




                                                                       Exhibit 15
Case: 1:21-cv-06546 Document #: 70-20 Filed: 11/08/22 Page 7 of 29 PageID #:1015




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                                                                                   ILL-VNTG_0000365




                                                                       Exhibit 15
Case: 1:21-cv-06546 Document #: 70-20 Filed: 11/08/22 Page 8 of 29 PageID #:1016




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                                                                                   ILL-VNTG_0000366




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Case: 1:21-cv-06546 Document #: 70-20 Filed: 11/08/22 Page 9 of 29 PageID #:1017




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                                                                        Exhibit 15
                          Case: 1:21-cv-06546 Document #: 70-20 Filed: 11/08/22 Page 10 of 29 PageID #:1018




                                                                                                                                                  COLOR VARIATION

                                                                                                                                                  The logo can be used in the follow ing color variations:




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                                                    I             I                                  I                  I
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                                                                               X = HORIZONTAL STROKE




PROTECTED AREA: The protected a rea around the logo ensures that no other g ra p h ic e le ments interfe re w ith it s cla rity an d integ rity
                Thedepthofthe protectedareaisequ iva lentto the he ightoft he "X"




I   16      UNIVERSITY OF ILLINOIS ATHLETICS                  BRAN D IDEN T ITY GUI DEL INES




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                                                                                ILL-VNTG_0000369




                                                                        Exhibit 15
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                                                                                                                                        COLOR VARIATION

                                                                                                                                        The logo can be used in the following color variations:




PROTECTED AREA: The protected area around the logo ensures that no other graph ic e lements interfere w ith its clarity and integrity
                Thedepthoftheprotectedareaisequ iva lenttothehe ightofthe"X"




I   20     UNIVERSITY OF ILLINOIS ATHLETICS              BRAND IDENTITY GUIDELINES                                                                                           UNIVERSITY OF ILLINOIS ATHLETICS   BRAND IDENTITY GUIDELINES   21   I

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Case: 1:21-cv-06546 Document #: 70-20 Filed: 11/08/22 Page 14 of 29 PageID #:1022




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                                                                                ILL-VNTG_0000372




                                                                        Exhibit 15
Case: 1:21-cv-06546 Document #: 70-20 Filed: 11/08/22 Page 15 of 29 PageID #:1023




                                                         UNIVERSITY OF ILLINOIS ATHLETICS   BRAND IDENTITY GUIDELINES   27   I
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                                                                                                   Exhibit 15
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                                          PRIMARY




                                          SECONDARY

                                            WHITE

                                            OPAQUE WH ITE
                                            CO MO YO KO
                                            R255 G255 B 255
                                            #FFFFFF




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Case: 1:21-cv-06546 Document #: 70-20 Filed: 11/08/22 Page 17 of 29 PageID #:1025




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                                                                                ILL-VNTG_0000375




                                                                        Exhibit 15
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                                              ABCDEFSHIJKl.1#11
                                               DPDRSTUVWXYZ




                                          NOT E: Con1i1tent UH wi ll enhance the overa ll identity, promote con,i1t ancy acron ■ th l etiCI ■ nd bu ild equ ity in the ■ th l at i c1 brand
                                                 Thar• i1 no lowercase Y ■ nion. Do no t try to "m ■ k•N ■ l ow■ rc ■ H vu1 ion. Not intended for l ■ rg ■ bod ies of copy; u1 ■ of thi1 font 1hou ld
                                                 be limited to no more than one sentence. To promote effective recogn it ion in the market, the disp lay typeface hu lim ited use




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Case: 1:21-cv-06546 Document #: 70-20 Filed: 11/08/22 Page 19 of 29 PageID #:1027




                                            ' FIGHTINGILLINl"isthepreferredreference,versustheshortened"ILLINI."
                                              T hewordmarkshavebeenspecia llydesignedandcannotbecreatedbytypesettingthewording.




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                                                                                                                                  Exhibit 15
                        Case: 1:21-cv-06546 Document #: 70-20 Filed: 11/08/22 Page 20 of 29 PageID #:1028




                                                                                                                                       COLOR VARIATION

                                                                                                                                       The logo can be used in the following color variations:




                                                                                                                                                         JLLJNQ/SrM                              [}flfl[}r:J@[}@™

                                                                                                                                                         [}fllll][J!}@[}{BTM                     [}flfl[}[J!}@[}&JTM

                                x! A- -------- ---------------~: !
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                                                                                                                                                         JLLJNQ/SrM
                                                    X = HALF THE LETTER HEIGHT OF THE WORDMARK                                              2 OUTLINED   [}flfl[}[;!}@[}@TM




PROTECTED AREA: The protected area around the logo ensures that no other graph ic elements interfere w ith its clarity and integrity
                Thedepthoftheprotectedareaisequ iva lenttotheheightofthe"X"




I   36     UNIVERSITY OF ILLINOIS ATHLETICS              BRAND IDENTITY GUIDELINES




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                        Case: 1:21-cv-06546 Document #: 70-20 Filed: 11/08/22 Page 21 of 29 PageID #:1029




                                                                                                                                      COLOR VARIATION

                                                                                                                                      The logo can be used in the following color variations:




                                                                                                                                            FIGHTING ILLINI® f?[}@[Xlf?[}f;!J@ [}flil[}f;!J[}®
                                                                                                                                                                                                f?[}@[}[/f?[}f;!J@ [}fl/l[}f;!J[J®

                                                                                                                                                                                                f?[}@D!lfl[}f;!J@ [}[!IWw[}



                                                                                 X = HALF THE LETTER HEIGHT OF THE WORDMARK




PROTECTED AREA: The protected area around the logo ensures that no other graphic elements interfere w ith its clarity and integrity
                Thedepthoftheprotectedareaisequ ivalenttotheheightofthe"X"




I   38     UNIVERSITY OF ILLINOIS ATHLETICS             BRAND IDENTITY GUIDELINES                                                                                          UNIVERSITY OF ILLINOIS ATHLETICS   BRAND IDENTITY GUIDELINES   39   I

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                                                                                ILL-VNTG_0000380




                                                                        Exhibit 15
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                                          FRUTIGER 55 ROMAN

                                          ABCDEFG H IJ KLM NOPQRSTUVWXYZ
                                          a bed efg h ij k Im nopq rstuvwxyz
                                          FRUTIGER 56 ITALIC

                                          ABCDEFGHIJKLMNOPQRSTUVWXYZ
                                          abcdefghijklmnopqrstuvwxyz
                                          FRUTIGER 65 BOLD

                                          ABCDEFGHIJKLMNOPQRSTUVWXYZ
                                          abcdefg h ij kl m nopq rstuvwxyz
                                          FRUTIGER 66 BOLD ITALIC

                                          ABCDEFGHIJKLMNOPQRSTUVWXYZ
                                          abcdefghijklmnopqrstuvwxyz
                                          FRUTIGER 75 BLACK

                                          ABCDEFGHIJKLMNOPQRSTUVWXYZ
                                          abcdefghijklmnopqrstuvwxyz
                                          FRUTIGER 76 BLACK ITALIC

                                          ABCDEFGHIJKLMNOPQRSTUVWXYZ
                                          abcdefghijklmnopqrstuvwxyz




                                                                     UNIVERSITY OF ILLINOIS ATHLETICS   BRAND IDENTITY GUIDELINES   43   I

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                                                                                                               Exhibit 15
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                                                         ATHLETICS




                                                         ATHLETICS




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                                                                        Exhibit 15
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                                                                                                                                        COLOR VARIATION

                                                                                                                                        The logo can be used in the following color variations:




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                                   '----~--------------------~----'

                                                                                       X = HORIZONTAL STROKE




PROTECTED AREA: The protected area around the logo ensures that no other graph ic e lements interfere w ith its clarity and integrity
                Thedepthoftheprotectedareaisequ iva lenttothehe ightofthe"X"




I   46     UNIVERSITY OF ILLINOIS ATHLETICS              BRAND IDENTITY GUIDELINES




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                                                                                                                                                  COLOR VARIATION

                                                                                                                                                  The logo can be used in the follow ing color variations:




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                                                                                                                                                                                                             [}fl}l[}fJ!J@[}[ETM

                                                                                                                                                                                                             [}fJE[}fJ!J@[}fE

                                                        X = HALF THE LETTER HEIGHT OF THE WORDMARK




PROTECTED AREA: The protected a rea around the logo ensures that no other g ra p h ic e le ments interfe re w ith it s cla rity an d integ rity
                Thedepthofthe protectedareaisequ iva lentto the he ightoft he "X"




I   48      UNIVERSITY OF ILLINOIS ATHLETICS                  BRAN D IDEN T ITY GUI DEL INES




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                                                                                                                                        COLOR VARIATION

                                                                                                                                        The logo can be used in the following color variations:




                                                                                                                                               FIGHTING ILLINI®                                   f?[}@[}/lfl[}[)!}@ [}flil[}[)!}[}®

                                                                                                                                                                                                  f?[}@!Xlilf}[)!}@ [}flE[}fJ!][}®

                                                                                                                                                                                                  f?[}@[}!lfl[}[)!}@ [}flil[}[)!}[}

                                                                                   X = HALF THE LETTER HEIGHT OF THE WORDMARK




PROTECTED AREA: The protected area around the logo ensures that no other graph ic e lements interfere w ith its clarity and integrity
                Thedepthoftheprotectedareaisequ iva lenttothehe ightofthe"X"




I   50     UNIVERSITY OF ILLINOIS ATHLETICS              BRAND IDENTITY GUIDELINES




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                                                                                ILL-VNTG_0000386




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    TRADEMARK LICENSING PROGRAM

    The University of Illinois has delegated the responsibility for this program to the Illinois
    Office of Trademarks and Licensing. A formal licensing program has been established to
    insure University control of its identity; facilitate the process of securing authorization for
    legitimate third party uses; and to insure that the University secures a legitimate royalty
    from the third-party use of the marks.


    Marty Kaufmann
    University of Illinois Licensing & Trademark Office
    Division of Intercollegiate Athletics
    1700 S. Fourth Street
    Champaign IL 61820
    217-333-2474
m   mekaufma@illinois.edu                                                                                            m




      54    UNIVERSITY OF ILLINOIS ATHLETICS   BRAND IDENTITY GUIDELINES




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                                                                                                      Exhibit 15
